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Exhibit A
Translation from Russian. Channel One News Broadcast
2 February 2012, 21:06
https://www.1tv.ru/news/2012-02-02/103676-
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Sensational Statement by Father of ex-FSB Officer Alexander Litvinenko

Ch.1 Presenter: A sensational statement was made by Walter Litvinenko, the father of former
FSB officer Alexander Litvinenko, who fled to Britain and died under very mysterious
circumstances in London more than five years ago. Many relatives of the ex-employee of the
Russian special services also ended up abroad. Today his father thinks he has become a pawn in
someone else's game. Report by Anton Vernitsky, our special correspondent from Italy, where
Walter Litvinenko resides now.
Anton Vernitsky: Channel One received a letter from Italy from Walter Litvinenko a few days
ago. It was all the more unexpected because in it he called his son Alexander Litvinenko, who
died in a hospital in London in 2006 from poisoning with polonium-210, an "English spy”. He
asked for forgiveness from his country, since for all these years he had accused Russian special
services of murdering his son, and, in numerous interviews, stated that the Russian authorities
were directly involved in the death of Alexander Litvinenko. This has been exploited by many in
the West. The meeting with Walter Litvinenko, who immigrated to Europe a few years ago,
turned out even more surprising.
Walter: No one needs you here. You’ll die, they’ll drag you out and take you away. That’s how
my wife, too. She asked all the time, she asked to go to Russia. I want to go home, she was
crying. I took her to the cemetery. There are still debts. For the burial. [cries] Would they thro
her out from the grave? Russian people, don’t trust anyone. Nobody needs us here!
Anton Vernitsky: This 73-year-old old man, freezing in a small rented apartment in Italy, whose
wife died in 2011 and he buried her on credit, whose electricity was cut off for non-payment, and
whose last money was spent on a gas tank, is none else than Walter Litvinenko, whose departure
from Russia, the Western press covered very actively only four years ago.
Walter: It was my idea to leave, we left everything in Nalchik, on the cheap, we actually threw it
away; for the initial time, it was enough. I pulled out the whole family, 10 of us were here, and I
actually ruined my Lyubochka here, you can say.
Anton Vernitsky: The wife of Walter Aleksandrovich, Lyuba died in Italy in 2011. Now the
Litvinenko family is scattered throughout Europe. There is not enough money. They help their
old father only with food. According to Litvinenko, his son brings him food, but he is unable to
pay for two apartments.
Walter: He has no money, he pays for his own, but he has two children, and I'm still sitting on
his neck; sometimes my daughter sends borscht.


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Anton Vernitsky: A small town of Montemarziano in provincial Italy;. When Walter Litvinenko
arrived here in 2008, his house was besieged by numerous Western journalists who wrote that
this involuntary departure from his homeland was the result of supposedly political repression in
Russia. He then actively took part in this game. In 2006, after the death of Litvinenko's son, the
father got involved in an active anti-Russian campaign. They paid him to travel to European
cities, starting with London, they helped him with money, they took him to press conferences,
they gave him a computer for writing articles. In the photographs, he is in London with Boris
Berezovsky. In one of many documentaries he is with Akhmed Zakayev - who is on the
international wanted list by the Russian prosecutor's office on charges of terrorism, but received
political asylum in the UK. And here Walter Litvinenko is in Ukraine, where he presents his son's
book, written in collaboration with Alexander Goldfarb, now living in New York and working at
the Civil Liberties Foundation, founded by Boris Berezovsky. Again, Litvinenko Sr. is next to
Goldfarb in London.
Walter (news footage): Don’t trust this regime. This is a deadly regime for the whole world. My
son fought it. He understood.
Anton Vernitsky: But the story of the death of Alexander Litvinenko gradually faded away in
Europe, especially since facts about his cooperation with the British intelligence service MI6
surfaced. The widow of Litvinenko, Marina, admitted this to the British newspapers.
Walter: And, then, when I found out that this was the work of intelligence, what does all this
have to do with it then? So I'm telling you, [I had] this click in the head, that MI-5 or MI-6, that's
all, it's a click in the head. My father raised me, he gave Sasha a wold view; my father is a war
veteran, a veteran of two wars.
Anton Vernitsky: The Mail on Sunday claimed that Litvinenko had received "tens of thousands
of pounds for assistance" from the British secret services. In addition, since 2006, the London
court has not given a final answer to the question who and, most importantly, why killed
Litvinenko?
Walter: Specifically, I think - there no one who knows anything now, or maybe they don't want
to know; and when it was revealed that he was an Mi-6 agent, it was a shame for me, for our
entire family.
Anton Vernitsky: After that turn in this story, Litvinenko Sr. was no longer needed by his former
friends and patrons.
Walter: They spat on Walter. As long as they needed Walter to smear someone, he was needed.
Now Walter is not longer needed.


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Anton Vernitsky: Have you called anyone?
Walter: Of course I called. I called Boris Abramovich Berezovsky, but he doesn’t want to talk to
me at all. So should I go on screaming, making noises for my traitor son around the world?
Anton Vernitsky: Close to the end of the conversation, Walter Litvinenko said that he tried to
ask for help from all Western publications, which were so eager to publish his anti-Russian
articles. To no avail. That's why he wants to dot the "i" in this story.
Walter: Now, if anyone them hears that I am talking to you like that, they will say: “Ah, they got
him! They’re standing behind him with pistols, and these people are interrogating him, and he
sits, a poor, old man, and says God knows what.
Anton Vernitsky: Can’t be excluded.
Walter: So you see, to make sure this does not happen you should shoe everything.
Anton Vernitsky: One cannot be at all sure that Walter Litvinenko wouldn’t instantly change his
view if someone in the West would all of a sudden help him with money. But this is the way he
thinks now.
Walter: I am old. My life has been lived. It’s important not to mess up in the end so they don’t
spit. Like at Judas. My dad will meet me out there and ask, “Well son, have you become
Judas?”..Please, Motherland, for God’s sake, Motherland, please forgive me! And help me come
back to my homeland. An old man like I am.
Anton Vernitsky: There is nothing more to add. Anton Vernitsky, Pavel Volkonsky, Channel
One, Italy.




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